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                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


 FRIDA KAHLO CORPORATION,

          Plaintiff,                                         Case No.: 1:19-cv-06386

 v.                                                          Judge Charles P. Kocoras

 THE PARTNERSHIPS AND UNINCORPORATED                         Magistrate Judge Sidney I. Schenkier
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

          Defendants.

                                    NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                   DEFENDANT
                 420                                    Elizabeth_MC
                  21                                      awzzz7080
                 474                                    Jinfurui Trade
                 738                                         Hoyod
                 674                                Bathroom Decor Store
                 799                                       Nymphia
                 733                            Home Decor Presswork Store
                 802                                   Oriental Athene
                 840                                    shuidiwenhua
                 769                                        lileihao
                 697                                  donghaoshangmao
                 827                                     Rod Marion
                 465                                   huangxiangstore
                 727                                       haoun-US
                 301                                      joyce*1314
                 603                            world design phone accessories
                 394                                  Chen's Superstore
                 406                                 connie's kitchenette
                 627                                   YANGGUIJIAO
                 568                                   Store_inthenorth
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            408                          Dattinghouseholddress
            999                                 jingyuxiao
            575                                Sweetreturn
            561                              sinonarui flag
            641                        Zeanoog Internatianl Co.Ltd
            397                            chenyangjing shop
            403                                    clown
            643                         Zero Clock Home Decor
            378                               angkefashion
             54                                 be fearless
             80                                xiongdehao
             55                                 xiongjiang
            990                                   DiLian
            608                                 WW&XY
            576                           sznasc international
            169                               xiaoyudedian
            494                                   lie2019
            541                               printzhu2018
            617                                   XIN110


DATED: November 15, 2019                          Respectfully submitted,

                                           /s/ Keith A. Vogt
                                           Keith A. Vogt (Bar No. 6207971)
                                           Keith Vogt, Ltd.
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                                           Chicago, Illinois 60604
                                           Telephone: 312-675-6079
                                           E-mail: keith@vogtip.com

                                           ATTORNEY FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on November 15, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
